Case 1:05-cr-10025-.]DT Document 15 Filed 06/23/05 Page 1 of 2 Page|D 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

UNI'I‘ED STATES OF AMERICA

 

vs Criminal No. 1:65110166=01- T

og»i 0 ca 53
DJUAN JONES

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

At the request of counsel, the trial date in the above styled
matter is hereby continued to allow counsel for the defendant
additional time to prepare.. The ends of justice served by
taking such action outweigh the best interest of the public and the
defendant in a speedy trial.

The Clerk shall reset the REPORT DATE/MOTION HEARING
for Tuesday, Angust 23, 2005 at 8:30 A.M. and the TRIAL DATE for

Monda Se tember 12 2005 at 9:30 A.M. The Court finds that

 

the grounds for this continuance justified excluding the period
of July 6, 2005, to September 12, 2005, as excludable delay under

Title 18 U.S.C.§3161(h)(3)(A

and .
IT IS SO ORDERED. )(B)%Div );

JAMES . TODD
UNITE§S STATE DISTRICT JUDGE

DATE: 93 U Q'@’HS/

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with sure 55 and/or 32(b) Fnch on IQ’L_QLEL§

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This notice confirms a copy of the document docketed as number 15 in
case 1:05-CR-10025 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

